      Case 2:18-cr-00422-DJH Document 1069 Filed 10/13/20 Page 1 of 2




 1   MICHAEL BAILEY
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     DAN G. BOYLE (N.Y. Bar No. 5216825, daniel.boyle2@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 N. Spring Street, Suite 1400
 9   Los Angeles, CA 90012
     Telephone (213) 894-2426
10
     BRIAN C. RABBITT
11   Assistant Attorney General
     Criminal Division, U.S. Department of Justice
12
     REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
13   Senior Trial Attorney, U.S. Department of Justice
     Child Exploitation and Obscenity Section
14   950 Pennsylvania Ave N.W., Room 2116
     Washington, D.C. 20530
15   Telephone (202) 616-2807
     Attorneys for Plaintiff
16
17                       IN THE UNITED STATES DISTRICT COURT

18                               FOR THE DISTRICT OF ARIZONA

19   United States of America,                              No. CR-18-00422-PHX-SM B
20                        Plaintiff,
21                                                       UNITED STATES’ MOTION TO
              v.                                         CONFIRM TRIAL SUBPOENAS
22
     Michael Lacey, et al.,
23
24                        Defendants.

25
26
27         The United States respectfully requests the Court to confirm the trial subpoenas

28   issued to all witnesses for the previous jury trial dates of May 5, 2020, August 17, 2020,


                                               -1 -
      Case 2:18-cr-00422-DJH Document 1069 Filed 10/13/20 Page 2 of 2




 1   and January 12, 2021, to remain in effect for the current jury trial set for April 12, 2021.
 2          Respectfully submitted this 13th day of October, 2020.
 3
                                                MICHAEL BAILEY
 4                                              United States Attorney
                                                District of Arizona
 5
                                                s/ Kevin M. Rapp
 6                                              KEVIN M. RAPP
                                                MARGARET PERLMETER
 7                                              PETER S. KOZINETS
                                                ANDREW C. STONE
 8                                              Assistant U.S. Attorneys
 9                                              DAN G. BOYLE
                                                Special Assistant U.S. Attorney
10
                                                BRIAN C. RABBIT
11                                              Assistant Attorney General
12                                              U.S. Department of Justice, Criminal Division

13                                              REGINALD E. JONES
                                                Senior Trial Attorney
14                                              U.S. Department of Justice, Criminal Division
                                                Child Exploitation and Obscenity Section
15
16
17
18
19
                                  CERTIFICATE OF SERVICE
20
21          I hereby certify that on this same date, I electronically transmitted the attached
22   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
23   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
24   as counsel of record.
25
     s/ Joy Faraj           .
26   U.S. Attorney’s Office
27
28


                                                 -2 -
